Case 2:17-cv-00069-JRG-RSP Document 1 Filed 01/23/17 Page 1 of 14 PageID #: 1




                        THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION
	  

DISPLAY TECHNOLOGIES, LLC,


                       Plaintiff,                       Civil Action No. 2:16-cv-____
                v.                                      JURY TRIAL DEMANDED
LG ELECTRONICS USA, INC.,

                       Defendant.


                       COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff Display Technologies, LLC (“Plaintiff”) files this Complaint against	   LG

Electronics USA, Inc. (“Defendant”) alleging as follows:

                                           PARTIES

         1.     Plaintiff Display Technologies, LLC is limited liability company organized under

the state of Texas having a principal place of business at 1400 Preston Road, Ste. 400, Plano, TX

75093.

         2.     Upon information and belief LG Electronics USA, Inc. (“LG Electronics”) is a

corporation organized and existing under the laws of the State of Delaware with a principal place

of business located at 1000 Sylvan Avenue, Englewood Cliffs, New Jersey 07632. Defendant

can be served via its registered agent for service of process: United States Corporation Company,

2711 Centerville Road, Suite 400, Wilmington, Delaware 19808.
Case 2:17-cv-00069-JRG-RSP Document 1 Filed 01/23/17 Page 2 of 14 PageID #: 2




                                  JURISDICTION AND VENUE

        3.       This is an action for infringement of a United States patent arising under 35

U.S.C. §§ 271(a), 281, and 284 - 85. This Court has subject matter jurisdiction over this action

under 28 U.S.C. §1331 and §1338(a).

        4.       Venue is proper in this district under 28 U.S.C. §§ 1391(c) and 1400(b). On

information and belief, Defendant has transacted business in this district, and has committed acts

of patent infringement in this district.

        5.       Defendant is subject to this Court’s specific and general personal jurisdiction

pursuant to due process and/or the Texas Long Arm Statute, due at	   least to its substantial

business in this forum, including: (i) at least a portion of the infringements alleged herein; and

(ii) regularly doing or soliciting business, engaging in other persistent courses of conduct, and/or

deriving substantial revenue from goods and services provided to individuals in Texas and in this

judicial district.


                                     COUNT I
                      (INFRINGEMENT OF U.S. PATENT NO. 9,300,723)

        6.       On March 29, 2016, United States Patent No. 9,300,723 (the “’723 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention titled

“Enabling Social Interactive Wireless Communications.” A true and correct copy of the ’723

Patent is attached hereto as Exhibit A.

        7.       Mr. Leigh M. Rothschild is listed as the inventor of the ’723 Patent.

        8.       Plaintiff is the owner by assignment of the ’723 Patent with all rights in and to

that patent.

        9.       Defendant directly or through intermediaries, makes, uses, imports, sells, and/or

offers for sale products and/or systems (i.e., the LG G5, LG V20, LG Aristo and LG Style 2
Case 2:17-cv-00069-JRG-RSP Document 1 Filed 01/23/17 Page 3 of 14 PageID #: 3




(collectively, the “Accused Instrumentalities”)) that infringe claims 1, 3, 6, 7, 8, 9, 12, 14, 17, 18,

19, 20, 22, 24, 27, 28, 29, 30, 32, 34, 37, 38, 39, 40, 42, 44, 47, 48, 49, and 50 of the ’723 Patent.

       10.     Upon information and belief, Defendant has been and is now infringing claims 1,

3, 6, 7, 8, 9, 12, 14, 17, 18, 19, 20, 22, 24, 27, 28, 29, 30, 32, 34, 37, 38, 39, 40, 42, 44, 47, 48,

49, and 50 of the ’723 Patent in the State of Texas, in this Judicial District, and elsewhere in the

United States, by, among other things, directly or through intermediaries, making, using,

importing, selling and/or offering for sale mobile phones operating on Android 4.1 with Android

Beam, NFC, and Bluetooth which all operate in substantially the same manner covered by one or

more claims of the ’723 Patent to the injury of Plaintiff. Defendant is thus infringing, literally

infringing, and/or infringing the ’723 Patent under the doctrine of equivalents. Defendant is thus

liable for infringement of the ’723 Patent pursuant to 35 U.S.C. §. 271(a).

       11.     Upon information and belief, to the extent any marking was required by 35 U.S.C.

§ 287, predecessors in interest to the ’723 Patent complied with such requirements.

       12.     The Accused Instrumentalities infringe claim 1 of the ’723 Patent and include at

least one media terminal disposed in an accessible relation to at least one interactive computer

network (i.e., the Accused Instrumentalities include a Bluetooth networking device), a wireless

range structured to permit authorized access to said at least one interactive computer network

(i.e., the Accused Instrumentalities include a NFC device which allows access to the Bluetooth

network when used in combination with Android Beam), at least one media node disposable

within said wireless range, wherein said at least one media node is detectable by said at least one

media terminal (i.e., the Accused Instrumentalities can be placed in contact with one another

using the NFC device which automatically detects other devices once in NFC range), at least one

digital media file initially disposed on at least one of said at least one media terminal or said at
Case 2:17-cv-00069-JRG-RSP Document 1 Filed 01/23/17 Page 4 of 14 PageID #: 4




least one media node (i.e., the file to be transferred is initially disposed on the Accused

Instrumentalities), said at least one media terminal being structured to detect said at least one

media node disposed within said wireless range (i.e., the Accused Instrumentalities use the NFC

device to detect one another once within NFC range), a communication link structured to dispose

said at least one media terminal and said at least one media node in a communicative relation

with one another via said at least one interactive computer network (i.e., the Accused

Instrumentalities include a Bluetooth network device which operate to create a Bluetooth

network), said communication link being initiated by said at least one media terminal (i.e., the

Accused Instrumentalities initiate a Bluetooth connection), said at least one media node and said

at least one media terminal being structured to transmit said at least one digital media file

therebetween via said communication link (i.e., the Accused Instrumentalities are structured to

transmit a file between them using the Bluetooth network), and said communication link is

structured to bypass at least one media terminal security measure for a limited permissible use of

the communication link by the media node to only transferring the at least one digital media file

to, and displaying the at least one digital media file on, the at least one media terminal (i.e., the

Accused Instrumentalities use Android Beam to bypass Bluetooth security settings such as

pairing solely for the purpose of transferring the file between them). See Ex. B, Figs. 1-8.

       13.     The Accused Instrumentalities infringe claim 3 of the ’723 Patent, wherein the

transmission of the media file from the at least one media node to the at least one media terminal

completely bypasses the security measure (i.e., Android Beam bypasses the Bluetooth network

security measure such as pairing when transmitting the file.) See Ex. B, Figs. 1-7.

       14.     The Accused Instrumentalities infringe claim 6 of the ’723 Patent, wherein the

communication link is at least one of a peer-to-peer connection, Bluetooth connection, and a Wi-
Case 2:17-cv-00069-JRG-RSP Document 1 Filed 01/23/17 Page 5 of 14 PageID #: 5




Fi connection (i.e., the Accused Instrumentalities includes a peer-to-peer communications link in

the form of a Bluetooth connection). See Ex. B, Figs. 1-7.

       15.     The Accused Instrumentalities infringe claim 7 of the ’723 Patent, wherein the at

least one digital media file is at least one of an image file, video file, gaming file, and a

streaming video file (e.g., Android Beam is used to send video, image, or apps). See Ex. B, Figs.

1-7.

       16.     The Accused Instrumentalities infringe claim 8 of the ’723 Patent by presenting

the at least one digital media file on a display. See Ex. B, Figs. 1-7.

       17.     The Accused Instrumentalities infringe claim 9 of the ’723 Patent, wherein the at

least one digital media file is provided by the at least one media node (e.g., the media file can be

provided by either of the Accused Instrumentalities). See Ex. B, Figs. 1-7.

       18.     The Accused Instrumentalities infringe claim 12 of the ’723 Patent, and includes a

wireless receiver (i.e., the Accused Instrumentalities include a NFC device); a security measure

(i.e., Bluetooth security measures such as pairing requirements); and the media system disposed

in an accessible relation to at least one interactive computer network that has a wireless range

structured to permit authorized access to said at least one interactive computer network (i.e., the

Accused Instrumentalities include a NFC device which allows access to the Bluetooth network

when used in combination with Android Beam), the wireless mobile device within said wireless

range, wherein said wireless mobile device is detectable by said media system (i.e., the Accused

Instrumentalities can be placed in contact with one another using NFC which automatically

detects other devices once in NFC range), at least one digital media file initially disposed on the

wireless mobile device, said media system being structured to detect said wireless mobile device

disposed within said wireless range (i.e., the file to be transferred is initially disposed on the
Case 2:17-cv-00069-JRG-RSP Document 1 Filed 01/23/17 Page 6 of 14 PageID #: 6




Accused Instrumentalities), a communication link structured to dispose said media system and

said wireless mobile device in a communicative relation with one another via said at least one

interactive computer network (i.e., the Accused Instrumentalities include a Bluetooth network

device which operate to create a Bluetooth network), said communication link being initiated by

said media system (i.e., the Accused Instrumentalities initiate a Bluetooth connection), said

wireless mobile device and media system being structured to transmit said at least one digital

media file therebetween via said communication link (i.e., the Accused Instrumentalities are

structured to transmit a file between them using Bluetooth), and said communication link is

structured to bypass the security measure of the media system for a limited permissible use of the

communication link by the wireless mobile device for only transferring the at least one digital

media file to, and displaying the at least one digital media file on, the media system (i.e., the

Accused Instrumentalities use Android Beam to bypass Bluetooth security settings such as

pairing solely for the purpose of transferring the file between them). See Ex. B, Figs. 1-8.

       19.     The Accused Instrumentalities infringe claim 14 of the ’723 Patent, wherein the

transmission of the at least one digital media file from the wireless mobile device to the media

system completely bypasses the security measure (i.e., Android Beam completely bypasses the

Bluetooth Network security measures such as pairing requirements). See Ex. B, Figs. 1-7.

       20.     The Accused Instrumentalities infringe claim 17 of the ’723 Patent, wherein the

communication link is at least one of a peer-to-peer connection, Bluetooth connection, and a

WiFi connection (i.e., the Accused Instrumentalities use Android Beam to create a peer-to-peer

Bluetooth connection). See Ex. B, Figs. 1-7.

       21.     The Accused Instrumentalities infringe claim 18 of the ’723 Patent, wherein the at

least one digital media file is at least one of an image file, video file, gaming file, and a
Case 2:17-cv-00069-JRG-RSP Document 1 Filed 01/23/17 Page 7 of 14 PageID #: 7




streaming video file (e.g., the Accused Instrumentalities use Android Beam to transmit image

and/or video files). See Ex. B, Figs. 1-7.

       22.     The Accused Instrumentalities infringe claim 19 of the ’723 Patent, wherein the

further media system is configured to present the at least one digital media file on a display (i.e.,

the Accused Instrumentalities are configured to display the transferred file). See Ex. B, Figs. 1-

7.

       23.     The Accused Instrumentalities infringe claim 20 of the ’723 Patent, wherein the at

least one media file is provided by the wireless mobile device (i.e., the Accused Instrumentalities

are wireless mobile devices which provide the media file to be transferred). See Ex. B, Figs. 1-7.

       24.     The Accused Instrumentalities infringe claim 22 of the ’723 Patent by performing

a method of transferring a media file from a wireless mobile device to a media system over a

communication network, the media system including a security measure, comprising: disposing

the media system in an accessible relation to at least one interactive computer network that has a

wireless range structured to permit authorized access to said at least one interactive computer

network, wherein the wireless mobile device within said wireless range, wherein said wireless

mobile device is detectable by said media system, (i.e., the Accused Instrumentalities include a

Bluetooth networking device, a NFC device which allows access to the Bluetooth network when

used in combination with Android Beam and which automatically detects other devices once in

NFC range), initially disposing at least one digital media file on the wireless mobile device, said

media system being structured to detect said wireless mobile device disposed within said

wireless range (i.e., the file to be transferred is initially disposed on the Accused

Instrumentalities), structuring a communication link to dispose said media system and said

wireless mobile device in a communicative relation with one another via said at least one
Case 2:17-cv-00069-JRG-RSP Document 1 Filed 01/23/17 Page 8 of 14 PageID #: 8




interactive computer network (i.e., the Accused Instrumentalities include a Bluetooth device

which operates to create a Bluetooth network), initiating said communication link by said media

system (i.e., the Accused Instrumentalities initiate a Bluetooth network), transmitting by said

wireless mobile device to the media system said at least one digital media file therebetween via

said communication link (i.e., the Accused Instrumentalities use Android Beam to transmit the

digital media file), and wherein said communication link is structured to bypass the security

measure of the media system for a limited permissible use of the communication link by the

wireless mobile device for only transferring the at least one digital media file to, and displaying

the at least one digital media file on, the media system (i.e., the Accused Instrumentalities use

Android Beam to bypass Bluetooth security settings such as pairing solely for the purpose of

transferring the file between them). See Ex. B, Figs. 1-8.

       25.     The Accused Instrumentalities infringe claim 24 of the ’723 Patent, wherein the

transmission of the at least one digital media file from the wireless mobile device to the media

system completely bypasses the security measure (i.e., Android Beam completely bypasses the

Bluetooth network security measures such as pairing requirements). See Ex. B, Figs. 1-7.

       26.     The Accused Instrumentalities infringe claim 27 of the ’723 Patent, wherein the

communication link is at least one of a peer-to-peer connection, Bluetooth connection, and a

WiFi connection (i.e., the Accused Instrumentalities use Android Beam to create a peer-to-peer

Bluetooth connection). See Ex. B, Figs. 1-7.

       27.     The Accused Instrumentalities infringe claim 28 of the ’723 Patent, wherein the at

least one digital media file is at least one of an image file, video file, gaming file, and a

streaming video file (e.g., the Accused Instrumentalities use Android Beam to transmit image

and/or video files). See Ex. B, Figs. 1-7.
Case 2:17-cv-00069-JRG-RSP Document 1 Filed 01/23/17 Page 9 of 14 PageID #: 9




       28.     The Accused Instrumentalities infringe claim 29 of the ’723 Patent and presents

the at least one digital media file on a display (i.e., the Accused Instrumentalities display the

transferred file). See Ex. B, Figs. 1-7.

       29.     The Accused Instrumentalities infringe claim 30 of the ’723 Patent, wherein the at

least one digital media file is provided by the wireless mobile device (i.e., the Accused

Instrumentalities are wireless mobile devices). See Ex. B, Figs. 1-7.

       30.     The Accused Instrumentalities infringe claim 32 of the ’723 Patent, they are

wireless mobile devices configured to transmit a media file to a media system over a

communication network having a security measure comprising: the media system disposed in an

accessible relation to at least one interactive computer network that has a wireless range

structured to permit authorized access to said at least one interactive computer network (i.e., the

Accused Instrumentalities include an NFC device with Android Beam which permit access to the

Accused Instrumentalities Bluetooth network), the wireless mobile device within said wireless

range, wherein said wireless mobile device is detectable by said media system (i.e., the Accused

Instrumentalities can be placed in contact with one another using NFC which automatically

detects other devices once in NFC range), at least one digital media file initially disposed on the

wireless mobile device, said media system being structured to detect said wireless mobile device

disposed within said wireless range (i.e., the file to be transferred is initially disposed on the

Accused Instrumentalities), a communication link structured to dispose said media system and

said wireless mobile device in a communicative relation with one another via said at least one

interactive computer network (i.e., the Accused Instrumentalities include a Bluetooth device

which operates to create a Bluetooth network), said communication link being initiated by said

media system (i.e., the Accused Instrumentalities initiate a Bluetooth connection), said wireless
Case 2:17-cv-00069-JRG-RSP Document 1 Filed 01/23/17 Page 10 of 14 PageID #: 10




 mobile device and media system being structured to transmit said at least one digital media file

 therebetween via said communication link (i.e., the Accused Instrumentalities are structured to

 transmit a file between them using Bluetooth), and said communication link is structured to

 bypass the security measure of the media system for a limited permissible use of the

 communication link by the wireless mobile device for only transferring the at least one digital

 media file to, and displaying the at least one digital media file on, the media system (i.e., the

 Accused Instrumentalities use Android Beam to bypass Bluetooth security settings such as

 pairing solely for the purpose of transferring the file between them). See Ex. B, Figs. 1-8.

        31.     The Accused Instrumentalities infringe claim 34 of the ’723 Patent, wherein the

 transmission of the at least one digital media file from the wireless mobile device to the media

 system completely bypasses the security measure (i.e., Android Beam completely bypasses the

 Bluetooth network security measures such as pairing requirements). See Ex. B, Figs. 1-7.

        32.     The Accused Instrumentalities infringe claim 37 of the ’723 Patent, wherein the

 communication link is at least one of a peer-to-peer connection, Bluetooth connection, and a

 WiFi connection (i.e., the Accused Instrumentalities use Android Beam to create a peer-to-peer

 Bluetooth connection). See Ex. B, Figs. 1-7.

        33.     The Accused Instrumentalities infringe claim 38 of the ’723 Patent, wherein the at

 least one digital media file is at least one of an image file, video file, gaming file, and a

 streaming video file (e.g., the Accused Instrumentalities use Android Beam to transmit image

 and/or video files). See Ex. B, Figs. 1-7.

        34.     The Accused Instrumentalities infringe claim 39 of the ’723 Patent, wherein the

 device is configured to present the at least one digital-media file on a display (i.e., the Accused

 Instrumentalities are configured to display the transferred file). See Ex. B, Figs. 1-7.
Case 2:17-cv-00069-JRG-RSP Document 1 Filed 01/23/17 Page 11 of 14 PageID #: 11




        35.     The Accused Instrumentalities infringe claim 40 of the ’723 Patent, wherein the at

 least one digital media file is provided by the wireless mobile device (i.e., the Accused

 Instrumentalities are wireless mobile devices). See Ex. B, Figs. 1-7.

        36.     The Accused Instrumentalities infringe claim 42 of the ’723 Patent by including a

 transfer system from transferring a media file over a communication network, comprising a

 media system; and a wireless mobile device, wherein the media system includes: a wireless

 receiver (i.e., a NFC device), a security measure (e.g., Bluetooth networking security measures),

 and a processor (e.g., a Qualcomm Snapsdragon processor) configured to [sic] the media system

 disposed in an accessible relation to at least one interactive computer network that has a wireless

 range structured to permit authorized access to said at least one interactive computer network

 (i.e., the Accused Instrumentalities include a NFC device which allows access to the Bluetooth

 network when used in combination with Android Beam), the wireless mobile device within said

 wireless range, wherein said wireless mobile device is detectable by said media system (i.e., the

 Accused Instrumentalities can be placed in contact with one another using NFC which

 automatically detects other devices once in NFC range), at least one digital media file initially

 disposed on the wireless mobile device, said media system being structured to detect said

 wireless mobile device disposed within said wireless range (i.e., the file to be transferred is

 initially disposed on the Accused Instrumentalities), a communication link structured to dispose

 said media system and said wireless mobile device in a communicative relation with one another

 via said at least one interactive computer network (i.e., the Accused Instrumentalities include a

 Bluetooth device which operate to create a Bluetooth network), said communication link being

 initiated by said media system (i.e., the Accused Instrumentalities initiate a Bluetooth

 connection), said wireless mobile device and media system being structured to transmit said at
Case 2:17-cv-00069-JRG-RSP Document 1 Filed 01/23/17 Page 12 of 14 PageID #: 12




 least one digital media file therebetween via said communication link (i.e., the Accused

 Instrumentalities are structured to transmit a file between them using Bluetooth), and said

 communication link is structured to bypass the security measure of the media system for a

 limited permissible use of the communication link by the wireless mobile device for only

 transferring the at least one digital media file to, and displaying the at least one digital media file

 on, the media system (i.e., the Accused Instrumentalities use Android Beam to bypass Bluetooth

 security settings such as pairing solely for the purpose of transferring the file between them).

 See Ex. B, Figs. 1-8.

        37.     The Accused Instrumentalities infringe claim 44 of the ’723 Patent, wherein the

 transmission of the at least one digital media file from the wireless mobile device to the media

 system completely bypasses the security measure (i.e., Android Beam completely bypasses the

 Bluetooth Network security measures such as pairing requirements). See Ex. B, Figs. 1-7.

        38.     The Accused Instrumentalities infringe claim 47 of the ’723 Patent, wherein the

 communication link is at least one of a peer-to-peer connection, Bluetooth connection, and a

 WiFi connection (i.e., the Accused Instrumentalities use Android Beam to create a peer-to-peer

 Bluetooth connection). See Ex. B, Figs. 1-7.

        39.     The Accused Instrumentalities infringe claim 48 of the ’723 Patent, wherein the at

 least one digital media file is at least one of an image file, video file, gaming file, and a

 streaming video file (e.g., the Accused Instrumentalities use Android Beam to transmit image

 and/or video files). See Ex. B, Figs. 1-7.

        40.     The Accused Instrumentalities infringe claim 49 of the ’723 Patent, wherein the

 system is configured to present the at least one digital media file on a display (i.e., the Accused

 Instrumentalities are configured to display the transferred file). See Ex. B, Figs. 1-7.
Case 2:17-cv-00069-JRG-RSP Document 1 Filed 01/23/17 Page 13 of 14 PageID #: 13




         41.     The Accused Instrumentalities infringe claim 50 of the ’723 Patent, wherein the at

 least one digital media file is provided by the wireless mobile device (i.e., the Accused

 Instrumentalities are wireless mobile devices). See Ex. B, Figs. 1-7.

         42.     As a result of the Defendant’s infringement of the ’723 Patent, Plaintiff has

 suffered monetary damages in an amount not yet determined, and will continue to suffer

 damages in the future unless Defendant’s infringing activities are enjoined by this Court.

         43.     Unless a permanent injunction is issued enjoining Defendant and its agents,

 servants, employees, attorneys, representatives, affiliates, and all others acting on their behalf

 from infringing the ’723 Patent, Plaintiff will be irreparably harmed.

                                       PRAYER FOR RELIEF

 WHEREFORE, Plaintiff respectfully requests that this Court enter:

         1.      A judgment in favor of Plaintiff that Defendant has infringed the ’723 Patent;

         2.      A permanent injunction enjoining Defendant and its officers, directors, agents,

 servants, affiliates, employees, divisions, branches, subsidiaries, parents, and all others acting in	  

 active concert therewith from infringement, inducing the infringement of, or contributing to the	  

 infringement of the ’723 Patent, or such other equitable relief the Court determines is warranted;

         3.      A judgment and order requiring Defendant pay to Plaintiff its damages, costs,	  

 expenses, and prejudgment and post-judgment interest for Defendant’s infringement of the ’723

 Patent as provided under 35 U.S.C. § 284, and an accounting of ongoing post-judgment	  

 infringement; and

         4.      Any and all other relief, at law or equity, to which Plaintiff may show itself to be	  

 entitled.
Case 2:17-cv-00069-JRG-RSP Document 1 Filed 01/23/17 Page 14 of 14 PageID #: 14




                                   DEMAND FOR JURY TRIAL

        Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of	  

 any issues so triable by right.

 Dated: January 23, 2017                                Respectfully submitted,

                                                        /s/ Thomas C. Wright
                                                        Thomas C. Wright, Ph.D.
                                                        State Bar No. 24028146
                                                        Alex J. Whitman
                                                        State Bar No. 24081210
                                                        Cunningham Swaim, LLP
                                                        7557 Rambler Road, Suite 400
                                                        Dallas, TX 75231
                                                        Telephone: (214) 646-1495
                                                        twright@cunninghamswaim.com
                                                        awhitman@cunninghamswaim.com

 	  

 	  

 	  

 	  

 	  
